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June 28, 2019

VIA ECF
Hon. Steven C. Mannion
United States Magistrate Judge
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07101

           Re:     U.S.A. ex rel., Armstrong v. Andover, et al.
                   Civil Action No. 12-3319-SDW-SCM
                   Letter Brief in Support of Motion to Compel

Dear Judge Mannion:

           Pursuant to the Court’s instruction last week, please accept this letter brief on behalf of

Relator, Kenneth Armstrong (“Relator”) in support of Relator’s motion to compel the defendant

to answer the interrogatories (Document 81). Relator’s underlying action is a qui tam matter

brought under the Federal and two (2) statue qui tam statutes.1 The Defendants are as follows:

two large nursing homes, Andover Subacute and Rehab Center One, Inc. (“Andover One”),

Andover Subacute and Rehab Center Two, Inc. (“Andover Two”) (together “Andover”); and,

two doctors, Dr. Sanjay Jain (“Jain”) and the late Dr. Hooshang Kipiani (“The Estate of

Kippiani”) (together Defendant Doctors). Fact discovery is by and large concluded, expert

discovery should be completed in September and a final pre-trial conference and trial should be

scheduled thereafter.

           In most, if not all false claim cases, the Relator must not only prove fraudulent conduct

but also show a defendant’s claims for payment made to and paid for by the Government related


1
    The Federal False Claims Act, 31 U.S.C. §§ 3729-3733, and the False Claims Acts of New Jersey and New York.
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to that conduct. The same recipe applies here: In this matter, Relator worked as a director of

security at the Andover nursing homes and has obtained relevant evidence of the Defendant’s

fraudulent conduct. However, since Relator, like most Relators, did not work in or have access

to the Defendant’s billing (i.e., the claims for payment) the Relator has sought to obtain these

claims through discovery. Here, as in most healthcare fraud cases, there are two types of claims

for payment: 1) Medicare claims – here, claims submitted by the Defendant Doctors to the

Federal government for patient visits that were not actually performed; and, 2) Medicaid claims

– here, claims submitted by Andover to the State of New Jersey for patient nursing home care

that was not eligible for payment (collectively “Claims”). The interrogatories that are the subject

of this motion seek information regarding the Defendants’ Claims submitted to and paid by the

Government (“Claims Interrogatories”). This issue can and should easily be resolve by

stipulation; after all, Relator is seeking information about the Defendant’s own claims submitted

to and paid for by the Government from 2009 to 2012. However, the Defendants refuse to

stipulate, hence the need to conduct the extensive discovery into this issue and ultimately the

need for this Motion.

        In the absence of a stipulation and anticipating the need for Claims in a False “Claims”

Act case, the Relator has sought various ways to obtain Claims evidence. In addition to the

Claims Interrogatories, the Relator also sought a Rule 30(b)(6) Corporate designee of the person

most knowledgeable as to all Claims submitted by Andover to and paid for by the Government.

(“Claims Designee”). Further, Relator also issued subpoenas to the Government for Defendants’

Claims for payment made to and paid for by the Government from 2009 to 2012. Relator worked
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with the Government employees charged with managing Claims data 2 and eventually received

from Government the Defendants’ claims data in the form of several Microsoft Excel files that

contained a list of the Defendant’s Claims; these included other details such as the date of

service, the patient identifiers, the date of payment and the amount paid. In total, their Claims

data contained just over 14,000 rows of Claims for Andover patients and 7,200 rows of Claims

for Defendant doctors. At trial, this data will be the evidence of the Claims in this False Claims

Act matter wherein the potential damages and statutory penalties could be in the hundreds of

millions of dollars ($100,000,000’s). Further, the basis of Relator’s expert’s report will be these

Claims.

         After receiving the Claims data, Relator sought a stipulation from the Defendants as to its

accuracy. The Defendants have refused; and one need not be clairvoyant to anticipate at trial a

form over substance “foundation” objection to the Claims evidence. As such, Relator pursued

two parallel paths. One, the Relator sent the Claims Interrogatories that are the subject of this

Motion, which in aggregate, asks the Defendant to identify all Claims submitted to and paid for

by the Government. The Claims Interrogatories even invite the Defendants to reference the

Claims data received from the Government as its responses.

         Two, Relator also took the 30(b)(6) deposition of Andover’s Claims designee on June 4,

2019. Andover Claims Designee is Mr. Craig Goodstadt, Esq. who is also Andover’s long time

General Legal Counsel and Compliance Office. During that deposition, Mr. Goodstadt, Esq. was

both unprepared and unable to answer any question asked about the number of Claims Andover




2
 As the Court is likely aware, in healthcare the day of paper billing and paper claims are long gone, and Claims are
now electronic (i.e., data).
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submitted and the amount of payments Andover received for those Claims. For example, on the

first question of substance, here was the exchange:

         Q. Did you go and look to see how many claims that Andover submitted for per diem
services to New Jersey Medicaid between 2009 and 2012?
         A. Again, it would be hundreds. I don't know the exact amount.
         Q. And what about the dollar value of those claims, per diem claims submitted by
Andover to New Jersey Medicaid during that time frame?
         A. I don't have an estimate. It would be in the hundreds of thousands, if not millions of
dollars.
         Q. Do you know generally how much on an annual basis Andover is getting paid from
New Jersey Medicaid?
         A. I don't know the amount.

(See Exhibit 2 - Deposition page(s) 10-13.)

         Additionally, although the 30(b)(6) Deposition Notice required the Claims Designee to

bring any and all documents that would identify the Claims submitted to and paid by the

Government, Mr. Goodstadt, Esq. did not bring any documents and therefore could not reference

any documents about claims during the Claims deposition. Worse, Mr. Goodstadt claimed that

in preparing for his 30(b)(6) deposition, he had not been told of the existence of Andover Claims

data received from the Government subpoena and, as such, never reviewed the excel file that

listed the Defendants’ Claims. (See Exhibit 2 - Deposition page(s) 13-14.) When next asked, “Do

you think that [looking at the Claims data] would have been something important to answer

questions about the claims that Andover submitted to the State of New Jersey? He answered:

“Perhaps.” (See Exhibit 2 - Deposition page(s) 13-14.) Notwithstanding, Mr. Goodstadt being

advised of the Claims data existence agreed that he had “no reason to dispute” the accuracy of

the data. (See Exhibit 2 - Deposition page(s) 65.) 3


3
  During the deposition the Claim Designee was also invited by Relator’s counsel to take some time after the
deposition and actually look at the Claims data and advise Relator’s counsel as to whether he thought the Claims
data did or did not accurately list the Claims submitted by the Defendants. Thus far, Relator has not heard again
from the Claims Designee.
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        Lastly, Andover’s continued protestations that it is now a “defunct” entity and as such,

has no basis to answer the Claims interrogatories is disingenuous at best, and untrue at worst.

First, during the 30(b)(6) deposition, the Claims Designee revealed that Andover used electronic

Claims software and billing vendor during the 2009 through 2012 timeframe. According to the

Claims Designee, the vendor was either Dee-Dee Corporation or Woodland (See Exhibit 2 -

Deposition page(s) 40-41.) Not surprisingly, Mr. Goodstadt did not note either when listing those

with whom he spoke to prepare for the 30(b)(6) deposition. Also, as noted in the Geyer

Declaration attached, there are numerous computers, discs, hard drives, and servers at Andover’s

storage facility – none of these had been connected to a power source. (Geyer Declaration at

para. 4) which could have been reviewed and which presumably contain billing data. Worse still

for the Defendant’s “defunct” contention is that one of the electronic billing vendors, Dee-Dee

Corporation was owned by Andover’s president, Carla Kipiani, and its office is at the same

location as the Claims Designee – yet the Claim Designee made no effort to review any

electronic Claim data from Ms. Kipiani’s corporation, Dee-Dee.

        Finally, although healthcare claims are now almost universally electronic, Andover also

printed and maintained voluminous paper copies of its Claims billing records. At the deposition,

when asked about whether Andover had any records which would identify Claims, the Claims

Designee stated it did not “other than” boxes that were in its own storage facility. (See Exhibit 2

- Deposition page(s) 64-65 .) Again, reviewing these Claims boxes of documents was not part of

the Mr. Goodstadt, Esq.’ preparation for the 309(b)(6) deposition about the Claims.

        Relator’s motion for answer to the Claims Interrogatories should be granted. Relators

have taken all reasonable steps to obtain the evidence of the Defendant Claims in order to pursue

this False “Claims” Act case and have in fact obtained the Claims data from the Government.
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Relator would use this Claims data at trial, but Defendants will undoubtedly object based on

foundation grounds. As such, if the Defendants maintain their refusal to stipulate that such data

are true and accurate as to its own Claims, then the Court should require answer to the Claims

Interrogatories. While in order to answer the interrogatories, Mr. Goodstadt, Esq. may

regrettably have to “roll up his sleeves,” go into the storage rooms and pull out the paper Claims

copies from the boxes or perhaps fire back up one or more of the Andover or Dee-Dee

Corporation computers that contain the Claims data, such efforts would be unnecessary if

Defendants would stipulate to the Claims data already received from the Government.



                                             Respectfully submitted,

Dated: June 28, 2019                         /s Bradford L. Geyer
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